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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


 LORETTA THOMAS and                     Civil Action No.
 FRANKLIN THOMAS,                       2:15-cv-00871-CCC-MF

                  Plaintifß,
                                                  Motion Returnable:
                  V                               September 8, 2015

 WELLS FARGO BANK, N.4.,
 ZUCKER, GOLDBERG &
 ACKERMAN, LLC,

                  Defendants




       MEMORANDUM OF LAW TN SUPPORT OF \ryELLS FARGO
       BANK, N.A.'S MOTION TO DISMISS PLAINTIFFS'
       AMENDED COMPLAINT
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                          PRELIMINARY STATEMENT
       On April 23, 2009, Plaintiffs Loretta Thomas and Franklin             Thomas

 (collectively, "Plaintiffs") obtained a mortgage loan from MLD Mortgage, Inc. to

 refinance an existing mortgage against property located al 279 Seaview Avenue,

 Jersey City, New Jersey 07305 (the "Property"). Plaintifß defaulted on their

 repayment obligations and a foreclosure lawsuit was filed in the Superior Court   of

 New Jersey, Hudson County on December 23,2013. On or about }l4ay 23,2014,

 Plaintiffs filed an Answer and Counterclaims      in response to the Foreclosure
 Complaint. On August 14, 2014, Judge Hector R. Velazqlrez entered an Order

 striking Plaintiffs' Answer and Affirmative Defenses and Dismissing              the

 Counterclaims with prejudice.

       Approximately seven months later, on February 4, 2015 Plaintifß filed        a


 Complaint against Wells Fargo Bank, N.A. ("Wells Fargo" or "Defendant") and

 Zucker, Goldberg &, Ackerman,       LLC in a blatant collateral atÍack on the
 Foreclosure   Action. Most of the language and claims in the Plaintifß' Complaint

 here is a verbatim recitation of the allegations they previously attempted to assert

 in their Answer and Counterclaims that were dismissed in the Foreclosure Action.

       On June 22, 2015, this Court entered an Order dismissing all of            the

 allegations in Plaintifß' Complaint with prejudice, except for Plaintiffs' claim for

 an alleged "due process" violation, which was dismissed without prejudice.
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 Plaintiffs were given leave to refile only the due process claim          to   include

 "sufficient facts."   In   response   to the Order, Plaintifß filed their Amended
 Complainl and request for relief from judgment.

       Even with the opportunity to amend, the Plaintiffs still fail to articulate      a


 claim. The Amended Complaint is nothing more than Plaintiffs' attempt to further

 forestall the Foreclosure Action by making conclusory, unsupported allegations

 related to an alleged violation of due process in the Foreclosure Action and to try

 to re-litigate their claims that were dismissed with prejudice. Not only has this

 Court dismissed the Plaintiffls claims with prejudice, but as set forth in Plaintiff   s


 Motion to Dismiss the Complaint, all of these issues were already addressed by the

 State Court, or were claims that Plaintiffs could have and should have raised

 during the Foreclosure Action. Plaintiffs' attempt to re-assert these claims now is

 barred by the Younger Doctrine and Entire Controversy Doctrine, among others, as

 fully briefed in Plaintiffs Motion to Dismiss the Complaint. Not only are the

 claims barred, but even after amendment, Plaintifß still fail to actually plead any

 of the elements necessary to sustain any of their claims.

       Plaintiffs know full well that final judgment in the foreclosure action is

 imminent. That, however, does not give Plaintiffs the right to continue to bring

 meritless claims before this Court that were already considered and dismissed by

 this Court and by the State Court. Even after being given the opportunity to


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 amend,   Plaintifß' claims are legally and factually deficient in every respect and

 should be dismissed in their entirety, with prejudice.

     STATEMENT OF FACTS AND RELEVANT PROCE DURAL HISTORY
       1.     Plaintiffs Applied for and Obtained a Loan to Refinance the
              Mortgage on Their Property.

       On April 23, 2009, Loretta Thomas completed and signed a Uniform

 Residential Loan Application      for   5442,697.00   to   refinance the loan on the

 Property. Conroy Cert. Ex. A.t Corroy Cert,, Ex. A-C; see also Compløinl, The

 loan is evidenced by a Note ("Note"). Conroy Cert., Ex.      B. To secure the Note,   on

 April 23, 2009, Loretta Thomas and Franklin Thomas executed a               Mortgage

 ("Mortgage")   in favor of Mortgage Electronic        .Registration Systems, Inc.     as


 nominee for MLD Mortgage,         Inc.   Conroy Cert., Ex.    C.   The Mortgage was

 recorded on May 4, 2009.    Id.   On January 9,2012, the Mortgage was assigned to

 Wells Fargo and the Assignment of Mortgage was recorded. Conroy Cert., Ex. D.

       2.     The Foreclosure Action.

       Plaintiffs failed to make the payments due and the loan went into default.

 Due to the default, Wells Fargo filed a Foreclosure Complaint on December 23,


 ' The attached exhibits are documents relied on in the pleadings or public records
 thal may be properly relied upon by the Court in deciding this Motion to Dismiss.
 Pension Benefit_Guar. Corp. v. White Consol. Indus.. Inc., 998 F.2d 1192, 1196
 (3d Cir. 1993), cert. denied,510 U.S. 1042 (1994); Hunter v. Supreme Court of
 New Jersey, 951 F. Supp. 1161, 1163 (D.Nf .J. 1996), aff d, 118 F.3d 1575 (3d Cir.
 teeT).



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 2013 (the "Foreclosure      Action"). Conroy Cert., Ex, E, Plaintiffs filed   an Answer

 to the Foreclosure Complaint with Counterclaims on or about May 30, 2014.

 Conroy Cert., Ex. F,      H.   Wells Fargo moved to strike the contesting Answer and

 Dismiss the Counterclaims, and the motion was granted on August 14, 2014,

 striking Plaintiffs' claims and defenses with prejudice. Conroy Cert,, Ex.           G.


 Pursuant to New Jersey law, Wells Fargo demonstrated standing to foreclose by

 virtue of the publicly recorded Assignment of Mortgage and the foreclosure

 judgment reflects Wells Fargo's demonstration of its standing to foreclose. When

 the Foreclosure Complaint was filed, the loan was due for the December 1,2012

 payment and all subsequent payments. Conroy Cert., Ex. E.

            3     Plaintiffs Filed the Complaint as         Collateral Attack on the
                  Foreclosure                          ^
                                and the Complaint was Dismissed.

            Plaintiffs filed their Complaint on or about F'ebruary 4,2015. Conroy Cert,,

 Ex.   I,   Defendant accepted service on    April 15,2015. IPACERNo. 8]. Defendant

 requested a Clerk's extension of time to answer or move to May 20,2015, which

 was granted. IPACER No. 9]. Wells Fargo moved to dismiss Plaintiff s Complaint

 with prejudice. Conroy Cert., Ex.      J,   On June 22,2015, the Honorable Judge Jose

 L, Linares granted       Defendants' Motion to Dismiss Plaintiffs' Complaint with

 prejudice. Conroy Cert,, Ex. K. Pursuant to the Order, Plaintiffs had 20 days to
 oofile
          an amended complaint that contains sufficient facts with respect to any due

 process claims." Id,


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        4,     Plaintiffs Filed the Amended Complaint in Response to the Order
               Granting Defendant's Motion to Dismiss.
        Pursuant to the Order, Plaintiffs filed their Amended Complaint on July 10,

 2015. Conroy Cert., Ex.      L.   Defendant now files this Motion to Dismiss the

 Amended Complaint and requests that this Court dismiss all of Plaintifß' claims

 with prejudice.

                                LEGAL ARGUMENT

   I.    PLAINTIFFS FAIL TO ASSERT A DUE PROCESS VIOLATION
        In their Amended Complaint, Plaintifß         allege thal Defendants        have

 somehow infringed       on their   constitutional due process rights during the

 Foreclosure   Action. Plaintiffs already attempted to   assert a due process claim

 against Defendants in their original Complaint, which was dismissed pursuant to

 Judge Linares'     Order. In the Order, Judge Linares   states that Plaintiffs   "fail to

 allege any facts with respect to Wells Fargo that indicate a violation of Plaintiffs'

 due process   rights." Conroy Cert, Ex. K. Plaintifß were given the opportunity to

 replead their claim with supporting facts, yet they have failed to do     so. In the
 Amended Complaint, Plaintiffs still fail to allege any facts to show how Wells

 Fargo violated their due process rights by denying them their legal rights during

 the foreclosure.

        In contrast, the record in the Foreclosure Action shows Plaintiffs    received

 and accepted service of V/ells Fargo's Summons and Complaint, and that they filed



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  an Answer Affidavit Discovery and Disclosure Counter Claim filed on May 30,

  2014, Conroy Cert. Ex. F. Their claims were considered by the State court             and

  then dismissed. They had their day in court.

        As fully briefed in Defendant's Motion to Dismiss the Complainl, and fully

  incorporated herein,    all of the issues the Plaintiffs        allege   in the Amended
  Complaint are precluded by the Foreclosure Action,

        Even   if   there had been a problem with due process in the Foreclosure

  Action, which Defendant denies, such issue is for the State Court to decide as it

  relates entirely to the Foreclosure   Action.   See Lazaridis   v. Wehmer,   591 F.3d 666,

  670 (3rd Cir.2010); Younger v. Harris,40l U.S. 37 (1971); Rooker v. Fidelity

  Trust Co. , 263 U. S. 4 1 3 ( 1 923); District of Columbia Court of Appeals v. Feldman,

  460 U.S. 462 (1933); see also 28 U.S.C. Ç 1257; In re Mullarkey,536F.3d2l5,

  299 (3d Cir. 2008). Once the Final Judgment is entered in the Foreclosure Action,

  Plaintifß will have the opportunity to appeal the ruling to the Appellate Division.

        As such, Plaintiffs were given proper notice, served with the complaint in

  the Foreclosure Action, and had a legitimate opportunity to dispute the Foreclosure

  Complaint in State Court. The Plaintiffs fully litigated their claims in State Court

  and were not denied any process of      law. Therefore, Plaintiffs' meritless   assertions

  about a supposed lack of due process are contradicted by the record and should be

  dismissed with prejudice in their entirety.



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  II.   PLAINTIFFS' OTHER CLAIMS WERE ALREADY DISMISSED
        \ryITH PREJUDICE TWICE
        To the extent Plaintifß attempt to use the Amended Complaint as a "Relief

  from Judgement or Order," their filing is improper. Plaintiffs' other claims were

  dismissed   with prejudice by this Court, and they were also dismissed with
  prejudice by the State Court. Plaintiffs' attempt to litigate their claims for the third

  time must be disregarded.

        Plaintiffs' request for "relief' from the Court's Order dismissing their claims

  fails to meet the requirements of Fed.R.Civ.P. 60, which states rhat a party may

  seek relief from a judgment or order due to a clerical mistake, or on the following

  grounds:

        (1)    mistake, inadvertence, sulprise, or excusable neglect;

        (2)    newly discovered evidence that, with reasonable diligence,
               could not have been discovered in time to move for a new trial
               under Rule 59(b);

        (3) fraud (whether         previously called intrinsic      or
                                                                    extrinsic),
               misrepresentation, or misconduct by an opposing party;

        (4)    the judgment is void;

        (5)    the judgment has been satisfied, released, or discharged; it is
               based on an earlier judgment that has been reversed or vacated;
               or applying it prospectively is no longer equitable; or

        (6)    any other reason that justifres relief,

        Fed,R.Civ.P. 60(b).




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         Here, Plaintiffs have not identified any mistake, inadvertence or excusable

  neglect    in the Court's Order. Nor have they identified any newly discovery
  evidence or fraud in the Court's ruling. Plaintiffs have not offered any reason why

  the Order of June 22,2015 should not stand, dismissing Plaintiffs' claims with

  prejudice.

  III.   PLAINTIFFS' RESPA ALLEGATIONS FAIL
         In the Amended Complaint, Plaintiffs also make passing reference to an

  alleged violation of the Real Estate Settlement Procedures Act ("RESPA"). The

  alleged RESPA violation is outside the parameters of the Court's Order of June 22,

  2015, permitting amendment of the alleged due process claim. Furthermore, the

  Plaintiffs' alleged RESPA violation is legally deficient and must fail because:    (l)
  their claim is barred by the one-year statute of limitations under RESPA, and (2)

  there is no causal link between Plaintifß' purported damages and the alleged

  RESPA violation

                ø.    Pløinrffi' RESPA Cløim .Is Børred by the Statute OÍ
                      Limítølíons

         The one-year statute of limitations for bringing a claim for damages under

  RESPA bars Defendants'    claim.   12   U.S.q ç 2614. The closing for this loan took

  place on April 23,2009. Conroy Exs.        A-C. As such, Plaintiffs   were required to

  bring a cause of action within one year of that date. However, Plaintiffs first

  asserted   this RESPA claim on July 10, 2015 when they filed the Amended


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  Complaint, over six years after the alleged violation. Consequently, this claim is

  barred by the statute of limitations, and must be dismissed                          À




               b.      There Is No Cøusul Link Between       Plaintffi'     Dømages und
                       the Alleged RESPA Violøtion

        Even   if   Plaintifß' RESPA claims were not time-barred, Plaintiffs must

  allege a causal link between the purported specific damages at issue and the

  alleged RESPA violation in order to state a colorable claim. Plaintifß have failed

  to do so. See Jones v. ABN AMRO Mortg. Grp.. Inc., 551 F.Supp.2d 400, 409 n.9

  (8.D. Pa. 2008) (dismissing RESPA claims because plaintiff did not allege specific

  damages suffered as the result of the alleged RESPA violations). Plaintifß fail to

  specify the alleged wrongful acts of the Defendant and they fail to allege with

  specifrcity any facts regarding their actual damages. Thus, Plaintiffs fail to

  establish a causal link between the purported "damages" they suffered and the

  alleged conduct of Defendant. Accordingly, Plaintiffs have failed to allege any

  facts that could possibly support a RESPA claim because there are no facts to

  establish a causal link between their damages and Defendant's actions. Therefore,

  this claim is legally deficient and must be stricken as a matter of law

                                    CONCLUSION
        The Federal Rules of Civil Procedure provide lhat a party may file a Motion

 to Dismiss a claim for "lack of subject matter jurisdiction" or for "failure to state a

 claim upon which relief can be granted." Fed. R. Civ. P. l2(bX1), l2(bX6), 8(a)


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  Plaintifß' Amended Complaint is wholly void of any factual or legal basis which
                                                                    oolf
  would entitle Plaintiffs to relief under any of their theories.          a dispute is not a

  proper case or controversy, the courts have no business deciding it, or expounding

  the law in the course of doing so." DaimlerChrysler Corp. v. Cuno, 547 U.S. 332,

  341 (2006).

        For the foregoing reasons, Defendant Wells Fargo Bank, N.A. respectfully

  requests that this Court dismiss    all of the allegations in Plaintiffs'        Amended

  Complaint with prejudice.

                                  Respectfully submitted,

                                  REED SMITH LLP

                                  /s/ Lqura K. Conrqt

                                  Laura K. Conroy


  Dated: July 27,2015




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